          Case 1:13-cv-00701-SS Document 42 Filed 02/13/14 Page 1 of 10




                      UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

WILLIAM GLENN AND             §
CHERYL GLENN,                 §
                              §
     Plaintiffs,              §
                              §
v.                            §                                      CIVIL ACTION NO.
                              §
L. RAY CALHOUN & CO., d/b/a   §                                          1:13-CV-00701
CALHOUN AND COMPANY, et al.,  §
                              §
     Defendants.              §
                              §
v.                            §
                              §
ONEBEACON AMERICA INSURANCE §
COMPANY, TEXAS BUSINESS       §
PURCHASING ALLIANCE, INC.,    §
ASSURANCE RESOURCES, INC. AND §
TY TEMPLETON, INDIVIDUALLY,   §
                              §
     Third-Party Defendants.  §

    ONEBEACON AMERICA INSURANCE COMPANY’S FIRST AMENDED ANSWER
      AND COUNTERCLAIM TO PLAINTIFFS’ FOURTH AMENDED ORIGINAL
                             PETITION

        OneBeacon America Insurance Company (“OneBeacon”) files this First Amended

Answer and Counterclaim to Plaintiffs’ Fourth Amended Original Petition, and in support

thereof would respectfully show the Court as follows: 1

                                              I.
                                     PARTIES AND PROCESS

        OneBeacon admits that it is a foreign corporation in the business of insurance, doing

business in the State of Texas, and that it may be served with process at the address listed in the

Plaintiff’s Fourth Amended Original Petition (“the Petition”).

1
  Plaintiffs did not number the paragraphs in the Fourth Amended Original Petition. OneBeacon will therefore
address the allegations in the petition by the numbered sections.
ONEBEACON AMERICA INSURANCE COMPANY’S
FIRST AMENDED ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ FOURTH AMENDED ORIGINAL PETITION Page 1
          Case 1:13-cv-00701-SS Document 42 Filed 02/13/14 Page 2 of 10




       OneBeacon need not admit or deny the final allegation of Section I, that discovery is

intended to be conducted pursuant to Level 2 in accordance with Texas Rule of Civil Procedure

190.3, as this allegation is no longer relevant due to the removal of this case to federal court.

       OneBeacon lacks knowledge or information sufficient to form a belief about the truth of

the remaining allegations of Section I of the Petition.

                                                II.
                                              VENUE

       OneBeacon need not admit or deny the allegations in Section II regarding venue and

jurisdiction as those facts are no longer relevant due to the removal of this case to federal court.

                                      III.
                     FACTS CONCERNING CALHOUN DEFENDANTS

       OneBeacon need not admit or deny the allegations in Section III, as they relate to claims

brought against Calhoun and not against OneBeacon. To the extent that Plaintiffs intend to use

any of the facts alleged in Section III against OneBeacon, OneBeacon lacks knowledge or

information sufficient to form a belief about the truth of the allegations in Section III.

                                     IV.
                CAUSE OF ACTION AGAINST CALHOUN DEFENDANTS

       OneBeacon need not admit or deny the allegations in Section IV, as they relate to claims

brought against Calhoun and not against OneBeacon. To the extent that Plaintiffs intend to use

any of the facts alleged in Section IV against OneBeacon, OneBeacon lacks knowledge or

information sufficient to form a belief about the truth of the allegations in Section IV.

                                            V.
                                    VICARIOUS LIABILITY

       OneBeacon need not admit or deny the allegations in Section V, as they relate to claims

brought against Calhoun and not against OneBeacon. To the extent that Plaintiffs intend to use


ONEBEACON AMERICA INSURANCE COMPANY’S
FIRST AMENDED ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ FOURTH AMENDED ORIGINAL PETITION Page 2
          Case 1:13-cv-00701-SS Document 42 Filed 02/13/14 Page 3 of 10




any of the facts alleged in Section V against OneBeacon, OneBeacon lacks knowledge or

information sufficient to form a belief about the truth of the allegations in Section V.

                                        VI.
                        PLAINTIFF WILLIAM GLENN’S DAMAGES

       OneBeacon need not admit or deny the allegations in Section VI, as they relate to claims

brought against Calhoun and not against OneBeacon. The Plaintiffs’ claims against Calhoun

have been remanded to state court, but to the extent that Section VI pleads that Plaintiffs are

entitled to have a jury in this case (the case remaining in federal court) determine the sum of

money that will fairly and reasonably compensate him for the injuries, damages, and losses he

has suffered or will suffer, OneBeacon denies that allegation. To the extent that Plaintiffs intend

to use any of the allegations in Section VI against OneBeacon, OneBeacon lacks knowledge or

information sufficient to form a belief about the truth of any other allegations in Section VI.

                                       VII.
                        PLAINTIFF CHERYL GLENN’S DAMAGES

       OneBeacon need not admit or deny the allegations in Section VII, as they relate to claims

brought against Calhoun and not against OneBeacon. To the extent that Plaintiffs intend to use

any of the facts alleged in Section VII against OneBeacon, OneBeacon lacks knowledge or

information sufficient to form a belief about the truth of the allegations in Section VII.

                                            VIII.
                                       NON-SUBSCRIBER

       OneBeacon need not admit or deny the allegations in Section VIII, as they relate to

claims brought against Calhoun and not against OneBeacon. To the extent that Plaintiffs intend

to use any of the facts alleged in Section VIII against OneBeacon, OneBeacon lacks knowledge

or information sufficient to form a belief about the truth of the allegations in Section VIII.



ONEBEACON AMERICA INSURANCE COMPANY’S
FIRST AMENDED ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ FOURTH AMENDED ORIGINAL PETITION Page 3
          Case 1:13-cv-00701-SS Document 42 Filed 02/13/14 Page 4 of 10




                                       IX.
                     ALTER EGO AND PIERCING CORPORATE VEIL

       OneBeacon need not admit or deny the allegations in Section IX, as they relate to claims

brought against Calhoun and not against OneBeacon. To the extent that Plaintiffs intend to use

any of the facts alleged in Section IX against OneBeacon, OneBeacon lacks knowledge or

information sufficient to form a belief about the truth of the allegations in Section IX.

                                      X.
                    FACTS CONCERNING INSURANCE DEFENDANTS

       OneBeacon admits that it issued a Combined Benefit Group Accident Policy, No.

BY00005 (the “Policy”) to Calhoun & Company, Inc. OneBeacon lacks knowledge or

information sufficient to form a belief about the truth of all other allegations in the first

paragraph of Section X, except that it denies that any damages resulted from any alleged

statements or omissions of any of its agents. OneBeacon denies all other allegations in Section

X. More specifically, OneBeacon denies all allegations that appear in Section X, other than those

addressed specifically in the preceding sentences, that appear under the following headings:

Facts Concerning Insurance Defendants, Declaratory Judgment Act, Deceptive Trade Practices,

Common Law Fraud, Fraud Under Insurance Code, Negligent Misrepresentation, Breach of

Contract, Economic and Actual Damages, Multiple Damages, Attorney’s Fees, and Vicarious

Liability. In particular, OneBeacon denies that the Plaintiffs are entitled to relief under any of the

causes of action listed in this Section X.

                                               XI.
                                             PRAYER

       OneBeacon denies that the Plaintiffs are entitled to any of the relief they request in

Section XI and denies all other allegations of Section XI.



ONEBEACON AMERICA INSURANCE COMPANY’S
FIRST AMENDED ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ FOURTH AMENDED ORIGINAL PETITION Page 4
            Case 1:13-cv-00701-SS Document 42 Filed 02/13/14 Page 5 of 10




                        ONEBEACON’S AFFIRMATIVE DEFENSES

1.     First Affirmative Defense

       Plaintiffs have failed to satisfy all the conditions precedent under the Policy.            In

particular, Plaintiffs have failed to satisfy the Policy’s applicable terms, conditions, exclusions,

restrictions, and limitations for numerous reasons including, but not limited to, the following:

       a.       It has not been established that Mr. Glenn’s injuries resulted from an Accident or
                that they constitute Accidental Bodily Injury, both as defined in Section I of the
                Policy;

       b.       It has not been established that Mr. Glenn was an Eligible Person as defined by
                the Policy;

       c.       Even assuming Mr. Glenn was an Eligible Person as defined by the Policy, the
                named insured, “Calhoun & Company, Inc.” (“Calhoun”) was obligated to
                include him in its reporting of Eligible Persons beginning in April 2010, but did
                not do so — rather, Calhoun waited until he had been injured to report him and
                request coverage in May 2011, which request was refused;

       d.       Even assuming Mr. Glenn was an Eligible Person as defined by the Policy, under
                Section VI of the Policy Calhoun was obligated to pay premiums for him
                beginning on or before the Premium Due Date of May 1, 2010, which Calhoun
                failed to do;

       e.       Mr. Glenn was not a covered employee at the time of the reported accident;

       f.       Sections II and IV of the Policy require that coverage for an injured employee
                must already be in place at the time of an Accident, but no coverage was in place
                as to Mr. Glenn at the time of the reported accident;

       g.       Section XI of the Policy excludes coverage for benefits attributable to injuries
                occurring or conditions existing prior to the Effective Date of coverage;

       h.       Section XI of the Policy excludes coverage for a Pre-Existing Condition or Injury;
                and

       i.       Third-Party Plaintiff did not provide any written notice to OneBeacon of its
                complaint under the Texas Deceptive Trade Practices Act.

2.     Second Affirmative Defense

       The Policy on which Plaintiffs sue is without consideration, or, in the alternative, any

alleged consideration has failed in whole or in part.
ONEBEACON AMERICA INSURANCE COMPANY’S
FIRST AMENDED ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ FOURTH AMENDED ORIGINAL PETITION Page 5
         Case 1:13-cv-00701-SS Document 42 Filed 02/13/14 Page 6 of 10




3.     Third Affirmative Defense

       Notice has not been given as required by the Policy. In particular, Plaintiffs and/or

Third-Party Plaintiff failed to give the notice required by Section VII., Claims, pages 16-18 of

the Policy. Although prejudice is not required to prevail on this defense, OneBeacon was

prejudiced by such failure to comply with the Policy.

4.     Fourth Affirmative Defense

       Proof of loss has not been given as required by the Policy. In particular, Plaintiffs and/or

Third-Party Plaintiff failed to give the proof of loss required by Section VII., Claims, pages 16-

18 of the Policy. Although prejudice is not required to prevail on this defense, OneBeacon was

prejudiced by such failure to comply with the Policy.

5.     Fifth Affirmative Defense

       The Petition fails to state a viable cause of action or valid claim upon which relief can be

granted against OneBeacon.

6.     Sixth Affirmative Defense

       Plaintiffs seek benefits from OneBeacon pursuant to the Policy, which is governed by the

Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. § 1001, et seq.

Plaintiffs’ state law claims against OneBeacon thus “relate to” an “employee benefit plan” and

are completely preempted by federal law pursuant to ERISA.

7.     Seventh Affirmative Defense

       Plaintiffs’ claims are completely barred by ERISA, because Plaintiffs failed to exhaust

the administrative remedies provided for in the Policy and by ERISA.

8.     Eighth Affirmative Defense

       Plaintiffs’ claims are barred by ERISA because any decisions regarding Mr. Glenn’s

medical claims were neither an abuse of discretion nor arbitrary and capricious. All benefit
ONEBEACON AMERICA INSURANCE COMPANY’S
FIRST AMENDED ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ FOURTH AMENDED ORIGINAL PETITION Page 6
          Case 1:13-cv-00701-SS Document 42 Filed 02/13/14 Page 7 of 10




determinations regarding Mr. Glenn’s medical claims were proper and correct under the terms of

the Policy.

9.     Ninth Affirmative Defense

       Plaintiffs’ claims “relate to” an “employee benefit plan.” Thus, they must be asserted

against the benefit plan itself pursuant to ERISA.

10.    Tenth Affirmative Defense

       Assuming Mr. Glenn was an Eligible Person as defined by the Policy, the insured,

Calhoun, was obligated to include him in its reporting of Eligible Persons beginning in April

2010, but did not do so — rather, Calhoun waited until he had been injured to report him and

request coverage in May 2011, which request was refused.

11.    Eleventh Affirmative Defense

       Assuming Mr. Glenn was an Eligible Person as defined by the Policy, under Section VI

of the Policy, Calhoun was obligated to pay a premium for him beginning on or before the

Premium Due Date on May 1, 2010, which Calhoun failed to do.

12.    Twelfth Affirmative Defense

       Mr. Glenn was not a covered employee at the time of the reported accident.

13.    Thirteenth Affirmative Defense

       Sections II and IV of the Policy require that coverage for an injured employee must

already be in place at the time of an Accident, but no coverage was in place as to Mr. Glenn at

the time of the reported accident.

14.    Fourteenth Affirmative Defense

       Section XI of the Policy excludes coverage for benefits attributable to injuries occurring

or conditions existing prior to the Effective Date of coverage.



ONEBEACON AMERICA INSURANCE COMPANY’S
FIRST AMENDED ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ FOURTH AMENDED ORIGINAL PETITION Page 7
         Case 1:13-cv-00701-SS Document 42 Filed 02/13/14 Page 8 of 10




15.    Fifteenth Affirmative Defense

       Section XI of the Policy excludes coverage for a Pre-Existing Condition or Injury.

16.    Sixteenth Affirmative Defense

       It is contrary to public policy to insure against a known loss or a loss in progress, and the

reported accident and Mr. Glenn’s injuries occurred prior to Calhoun’s request for coverage as to

Mr. Glenn.

17.    Seventeenth Affirmative Defense

       Plaintiffs have not provided any written notice to OneBeacon of their complaint under the

Texas Deceptive Trade Practices Act.

18.    Eighteenth Affirmative Defense

       Plaintiffs’ claims under the Texas Deceptive Trade Practices Act are barred because

Plaintiffs are not “consumers” as defined in such Act.

19.    Nineteenth Affirmative Defense

       Plaintiffs have no standing to assert any cause of action based upon the transactions

between OneBeacon and Calhoun.

20.    Twentieth Affirmative Defense

       Plaintiffs’ claims are barred because the Policy was terminated due to the fraud,

misrepresentation and deceit of Calhoun.

21.    Twenty-First Affirmative Defense

       Plaintiffs’ claims are barred by the applicable statute(s) of limitation.

22.    Twenty-Second Affirmative Defense

       OneBeacon also asserts as affirmative defenses each condition, limitation, and exclusion

under the Policy, the application of each such provision to be determined via discovery.



ONEBEACON AMERICA INSURANCE COMPANY’S
FIRST AMENDED ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ FOURTH AMENDED ORIGINAL PETITION Page 8
          Case 1:13-cv-00701-SS Document 42 Filed 02/13/14 Page 9 of 10




      ONEBEACON’S COUNTERCLAIM FOR COSTS AND ATTORNEY’S FEES

       This suit by Plaintiffs against OneBeacon is frivolous, groundless and brought in bad

faith, groundless and brought for the purpose of harassment, and groundless and brought for an

improper purpose. As a result, it has been necessary for OneBeacon to employ the law firm of

Strasburger & Price, LLP, to defend this action. OneBeacon is entitled to recover from Plaintiffs

its costs and reasonable and necessary attorney’s fees incurred through the trial of this cause and,

if necessary, appeal.

       Wherefore, OneBeacon America Insurance Company respectfully requests that Plaintiffs

take nothing from OneBeacon by this suit, and that OneBeacon recover its costs and reasonable

and necessary attorneys’ fees incurred herein, plus such other and further relief, at law or in

equity, to which OneBeacon may be entitled.

                                              Respectfully Submitted,

                                              /s/ Carla Crapster________________
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                                              ATTORNEYS FOR DEFENDANT AND THIRD-
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                                              INSURANCE COMPANY




ONEBEACON AMERICA INSURANCE COMPANY’S
FIRST AMENDED ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ FOURTH AMENDED ORIGINAL PETITION Page 9
           Case 1:13-cv-00701-SS Document 42 Filed 02/13/14 Page 10 of 10




                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing pleading has been served on

all counsel of record via ECF electronic notification on February 13, 2014, as follows:

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          and Cheryl Glenn



                                               /s/ Carla Crapster_________________
                                               Carla Crapster




ONEBEACON AMERICA INSURANCE COMPANY’S
FIRST AMENDED ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ FOURTH AMENDED ORIGINAL PETITION Page 10

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